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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                               )
TONI TATE, for herself and behalf of her minor )
child, CALI MCCULLER; CHRISTOPHER              )
HARBIN; and CIERRA HARBIN,                     )
                                               )
                           Plaintiffs,         )             Case No.
v.                                             )
                                               )             Judge
THE CITY OF CHICAGO; Chicago police            )
officers SUZANNE L. NIEMOTH (Star #17958); )                 Magistrate Judge
JEREMY D. ARRINGTON (#16330); OSCAR D. )
BENAVIDES (#4839); COLIN BLADES (#14679) )
ANTHONY P. BRUNO (#1123); YVETTE               )
CARRANZA (#13435); DANIELLE M.                 )
CUSIMANO (#16619); ADRIEN T. FRANKLIN )
(#9198); VICTOR J. GUEBARA (#17147);           )
HORST E. HEGEWALD (#18609); ANTONIO            )
D. MIRANDA (#8264); BRENDAN T.                 )
MULLIGAN (#10132); SEAN RYAN (#13198); )
JEFFERY A. SHAFER (#17177); MATTHEW J. )
SIEBER (#10163); CURTIS L. WEATHERSBY )
(# 7866); and OTHER, CURRENTLY                 )
UNKNOWN CHICAGO POLICE OFFICERS,               )             Jury Demanded
                                               )
                           Defendants.         )
                                               )

                                         COMPLAINT

                                            Summary

               1.     Plaintiffs, by and through their attorney, The Law Offices of Al Hofeld,

Jr., LLC, bring this action against defendant City of Chicago pursuant to 42 U. S. C. § 1983 for

needlessly traumatizing a law-abiding family and violating their Constitutional rights, and state

as follows:

               2.     At approximately 9:45PM on Monday, August 5, 2019, Toni Tate and her

adult children, Christopher Harbin (age 18) and Cierra Harbin (age 22), were getting ready for



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bed. Ms. Tate’s infant daughter, Cali, then 11-weeks-old, was sleeping peacefully in her crib in

her mother’s room in the family’s second floor apartment.

               3.      Without knocking or announcing their office, between 10 and 15

plainclothes Chicago police officers suddenly broke down the front door of the apartment – that

is to say, broke it off of its hinges - screamed “SEARCH WARRANT!” and “GET DOWN ON

THE F---ING GROUND!”, and pointed rifles and other guns point blank at the family, including

at Cierra as she cradled three-month-old Cali in her arms. Officers’ guns were loaded, and their

fingers were on the triggers. Ms. Tate was afraid her son Christopher was going to be shot. Ms.

Harbin was afraid Cali was going to be shot. Officers then handcuffed the adults for two hours

and tossed and needlessly destroyed the family’s personal property in several rooms. Officers

did not activate their body cameras until approximately five minutes after they entered, too late

to capture their use of force, in violation of the department directive on body worn cameras.

               4.     It was all a mistake - another a bad search warrant by Chicago police that

hurt another innocent, law-abiding family of color who were not police suspects. Police did not

find inside Ms. Tate’s apartment any of the contraband or other items referenced in the warrant.

They did not find the target of the search warrant there. They did not arrest or charge Ms. Tate,

Cierra, Christopher or anyone else.

               5.     The target of the search warrant, the person named in the warrant, Andre

King, also known as “Drako” according to the warrant, did not reside in or have any connection

to the family’s apartment. Ms. Tate and her family had never heard of him. The family had

lived in this second-floor south apartment at 6134 S. Vernon Avenue for more than two-and-a-

half years.




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               6.      Ms. Tate and her children followed all officer instructions at all times.

They did not pose any apparent, actual or possible threat to the officers whatsoever at any time.

They repeatedly asked the officers why they were there and what and who they were looking for.

Officers ignored all of their questions. They refused to show or give a copy of the search

warrant to Ms. Tate. They made jokes at the family’s expense.

               7.      After approximately two hours of detaining the family and searching their

apartment and not finding any contraband or any signs of Mr. King, officers left. They never

explained why they had been there or who they were looking for. They did not apologize to the

family. They did not say anything. They just left.

               8.      In what is a weekly routine, Chicago police terrorized yet another innocent

family of color for no reason. Their actions toward the Tate/Harbin family were not only

completely avoidable as the product of a sloppy search warrant investigation, but their display of

excessive violated the family’s Fourth Amendment constitutional rights. And officers’ display

of excessive force was not a rogue or isolated event: it was undertaken pursuant to the City of

Chicago’s systemic, unofficial policy of using excessive police force against infants, children,

youth and their close relatives in the minors’ presence, as set forth below.

               9.      As a direct result of this incident, Ms. Tate, Mr. and Ms. Harbin now

suffer serious, emotional and psychological distress, including symptoms of Post-Traumatic

Stress Disorder.

                                JURISDICTION AND VENUE

               10.     This action arises under 42 U. S. C. § 1983 and Monell v. Department of

Social Services of the City of New York, 436 U. S. 658 (1978). This Court has jurisdiction

pursuant to 28 U. S. C. §§ 1331 and 1343. The Court has supplemental jurisdiction of plaintiffs’

state law claims.


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               11.     Venue is proper pursuant to 28 U. S. C. § 1391(b). The underlying events

occurred within the Northern District of Illinois; defendant City of Chicago is a municipal

corporation located within the District; and all parties reside in the District.

                                              PARTIES

               12.     At the time of all relevant events, plaintiff Cali McCuller was an eleven-

week-old girl residing with her mother at 6134 S. Vernon Avenue, second floor apartment, in

Chicago, Illinois.

               13.     At the time of all relevant events, plaintiff Christopher Harbin was an 18-

year-old young man residing with his mother, his two sisters, and his mother’s husband at 6134

S. Vernon Avenue, second floor apartment, in Chicago. On August 5, 2019, Chris had graduated

from Corliss high school in Chicago and was working five days per week at an Amazon

fulfillment center on the south side. He’s pursuing his BA in computer science at Chicago State

University.

               14.     At the time of all relevant events, plaintiff Cierra Harbin was a 22-year-

old woman residing with her mother and siblings at 6134 S. Vernon Avenue, second floor

apartment, in Chicago, Illinois. On August 5, 2019, Cierra was a full-time nanny to her baby

sister, Cali, since early July when her mother recently returned to work full-time.

               15.     Plaintiff Toni Tate (“Ms. Tate”) is Cali, Chris, and Cierra’s natural

mother. At the time of all relevant events, she resided with her children at 6134 S. Vernon

Avenue, second floor apartment, in Chicago, Illinois. She and her family had lived in the

apartment for approximately two-and-a-half years.

               16.     Ms. Tate is a phlebotomist who works full-time for an OB Gyn practice

group at 680 N. Lake Shore Drive in Chicago.




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                17.      Plaintiffs are African-American.

                18.      Defendant City of Chicago is a municipal corporation under the laws of

the State of Illinois.

                19.      At the time of all relevant events, defendant Suzanne L. Niemoth (star #

17958) was a Chicago police officer assigned to the Third District, Third watch Mission Team.

She was the affiant of the complaint for search warrant for Andre King and 6134 S. Vernon,

second floor south apartment. She and at least the following other defendant Chicago police

officers, believed to be members of the same unit, participated in obtaining, approving, and/or

executing the search warrant at plaintiffs’ apartment: Jeremy Arrington (#16330); Oscar

Benavides (#4839); Colin Blades (#14679); Anthony Bruno (#1123); Yvette Carranza (#13435);

Danielle Cusimano (#16619); Adrien T. Franklin (#9198); Victor Guebara (#17147); Horst E.

Hegewald (#18609); Antonio Miranda (#8264); Brandan Mulligan (#10132); Sean Ryan

(#13198); Jeffrey A. Shafer (#17177); Matthew J. Sieber (#10163); Curtis Weathersby (# 7866);

and other, presently unknown Chicago police officers. 1

                20.        On information and belief, all or nearly all of the officers who

participated in the execution of the search warrant on August 5, 2019, were Caucasian.

                21.        When Chicago police officers executed their search warrant at 6134 S.

Vernon Avenue, second floor south apartment, they were at all times acting under color of law




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 As of the filing date of this lawsuit, plaintiffs were unable to obtain, through their pre-suit FOIA
requests, the names of all involved officers. Officers on the scene did not wear badges and nameplates,
and officers flatly refused to provide plaintiffs with their names and badge numbers when asked.
Consequently, plaintiffs are forced to rely on discovery in order to identify the remainder of the officers
who should be defendants and will promptly amend their complaint (to dismiss as well as join appropriate
officers) once they obtain complete records from defendants, including the names and official CPD file
photos of all officers involved.


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and within the scope of their employment as officers of the Chicago Police Department (“CPD”)

for the City of Chicago.

                  Overview: CPD’s M. O. is to Use Excessive Force, Including
                                  in the Presence of Youth

                22.     Chicago police officers have a de facto policy, widespread custom or M.

O. of unnecessarily using force against citizens of color, including infants, children, youth and

their close relatives, which traumatizes them.

                23.     The 2017 United States Department of Justice investigation of the CPD

concluded, among other things, that CPD has a pattern and practice of using excessive force

against citizens, including children.

                24.     The 2016 report of the mayoral-appointed Chicago Police Accountability

Task Force (“PATF”) contained substantially similar conclusions and recommended a number of

specific police reforms to improve police interactions with and in the presence of youth.

                25.     None of the reforms that CPD has implemented or announced to date

purport to remedy or address Chicago police officers’ use of excessive force when executing

residential search warrants in the homes of infants, children, youth and their close relatives.

                26.     The federal consent decree agreed to by the City of Chicago and the State

of Illinois in 2018 did not address it.

                27.     CPD’s recently revised use of force policy, GO3-02, does not expressly

require officers to avoid using unnecessary force against or in the presence infants, children,

youth and their close relatives whenever possible and does not require officers to use a trauma-

informed approach to the use of force in such situations where some police force is necessary.

CPD’s search warrant policy, SO9-14, was also not revised to incorporate these or similar

changes.



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               28.      Unlike other major U.S. metropolitan police departments - such as

Cleveland, Indianapolis, Charlotte, Baltimore, San Francisco and many others - CPD still does

not provide any training or supervision to officers concerning youth brain development or the

importance of preventing trauma to infants, children and youth and their close relatives by

utilizing a trauma-informed approach to the use-of-force in situations where infants, youth or

children are present.

               29.      The connection between trauma and youth development and between

trauma and mental and physical health is well-established.

               30.      It is also well-known that many poor youth of color have already been

subjected to multiple traumas in the neighborhoods and circumstances in which they live and,

therefore, that police use of unnecessary force against them or in their presence only compounds

their already profoundly traumatic life experiences.

                            FACTS RELATING TO ALL COUNTS

               Chicago Police Obtain a Residential Search Warrant for a Person
                Who Had Zero Connection with Plaintiffs or Their Apartment

               31.      At approximately 5:53PM on January 29, 2015, defendant officer Niemoth

swore out and obtained a search warrant authorizing a search of Andre King, AKA “Drako,” and

the premises at 6134 S. Vernon Avenue, 2nd floor south apartment, in Chicago. The warrant

authorized the seizure of Heroin, any paraphernalia used in the weighing, cutting or mixing of

illegal drugs, any money and records detailing illegal drug transactions, and any residency

documents.

               32.      Officer Niemoth’s complaint for search warrant stated, entirely

erroneously and based solely on unverified information from a John Doe confidential informant,




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that Mr. Andre had sold heroin “several times over the last couple months” from 6134 S. Vernon

Avenue, 2nd floor south apartment.

                33.     As the complaint for search warrant indicates, officer Niemoth did not

check out the John Doe’s representation by verifying that Andre King had any connection with

the address 6134 S. Vernon Avenue.

                34.     The facts that a Chicago police officer alleges in a complaint for search

warrant are required to be “credible and reliable.” (CPD SO4-19, VI.B.a.). To this end, a

Chicago police officer swearing out a search warrant under oath before a judge is required to

“thoroughly conduct[]” the “investigation leading up to the need for a search warrant.” (CPD

SO4-19).

                35.     In particular, CPD SO4-19 requires the affiant of a complaint for search

warrant to independently investigate and verify the information provided by a John Doe

confidential informant, including information about where the intended target resided or can be

found.

                36.     In other words, as the sworn applicant for the warrant, officer Niemoth

had a duty to discover, diligently and in good faith, and disclose to the issuing warrant judge

whether she had identified the correct apartment or place to be searched (and not the residence of

an innocent third party, like plaintiffs).

                37.     All of this was and is required because the law respects citizens’ Fourth

Amendment rights, including the Fourth Amendment rights of innocent citizens who are not

criminal suspects.

                38.     In direct violation of CPD policy and the Fourth Amendment, officer

Niemoth and other officers involved in obtaining and approving the search warrant performed




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zero independent investigation or surveillance to verify that Mr. Bell was selling drugs at, lived

or could be found at 6134 S. Vernon, as the John Doe confidential informant told him.

               39.        Defendants could have made any of a number of simple inquiries. They

could have checked their own criminal history database, the CLEAR system, as they customarily

do in search warrant investigations. They could have run a person search on Lexis Nexis. They

could have performed minimal surveillance of the building. They could have contacted the

building’s owner and landlord. They could have contacted, or asked the state’s attorney to

subpoena, a utility company supplying energy to the building or apartment. They could have

utilized CPD’s database, Accurint, which matches addresses with names. Officer Niemoth did

none of these things.

               40.        Officer Niemoth totally neglected to verify or corroborate, as required by

SO4-19. She simply trusted what the criminally active John Doe told her was true about Andre

King and 6134 S. Vernon, second floor south.

               41.        Consequently, her sworn complaint for search warrant was fundamentally

inaccurate about who was inside and what was taking place at 6134 S. Vernon, second floor

south. In spite of what she told Judge Tristan, police did not have probable cause to believe that

Mr. King was selling drugs there and, therefore, to enter and conduct a search at that address.

               42.        Because officer Niemoth and other officers failed in their minimal official

duty to independently investigate and verify the location of the person to be searched, theirs was

not a good faith error.

               43.        Similarly, on information and belief, the CPD lieutenant who approved

officer Niemoth’s complaint for search warrant (name currently unknown) simply

“rubberstamped” it, without taking any steps to ensure that officer Niemtoh or other officers had




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performed the due diligence required by CPD Special Order S04-19. Taking these vital steps

was what the lieutenant was required to do.

               44.     On August 5, 2019, defendant officers reasonably knew or should have

known that the intended target of warrant did not reside at 6134 S. Vernon, second floor south.

               45.     Moreover, as is customary in Chicago, defendant officers, in the course of

obtaining and executing the search warrant, took no steps to first determine whether any minors

resided in the apartment, if so what times they were unlikely to be at home, to avoid entering at

times when they were likely to be present, or to deescalate themselves and their use of force

tactics if they unexpectedly encountered minors in the second floor south apartment at 6134 S.

Vernon. As a result, officers injured plaintiffs.

        Officers Point Guns at the Young Family and Destroy Their Personal Property

               46.     At approximately 9:45PM on Monday, August 5, 2019, Toni Tate was

getting ready for bed. She to get up and go downtown to work the next morning. Her infant

daughter, Cali, who was 11-weeks-old, was sleeping peacefully in her crib in her mother’s room

in the family’s second floor apartment. Ms. Tate’s husband, who works third shift as a CNA at

Loyola Medical Center, had just left for work.

               47.      It was a warm, summer evening. Ms. Tate’s older children, Chris and

Cierra, had just gone outside to sit onto their balcony, situated directly above the front entrance

to the building and facing the street.

               48.     Shortly they saw at least four unmarked vehicles pull up and stop on the

street in front of their building. They saw several people in plain clothes exit the vehicles and

begin walking towards the entrance to their building. As they walked, they drew their guns,




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cocked them, and carried flashlights pointed at the ground. Chris and Cierra also noticed two

uniformed police officers.

               49.     Having no inkling they were coming to their apartment and simply being

the helpful, law-abiding citizens they are, Cierra called down to the group of officers and asked

what was going on and if they needed to be buzzed into the building. They looked up at her but

did not acknowledge or respond.

               50.     Concerned, Cierra went inside to tell her mother that the police were at the

building.

               51.     At that moment, Ms. Tate was in her nightgown in the kitchen getting

some granola to snack on and some water to drink. Ms. Tate’s response was to reassure Cierra

that the police “are not coming here.” Just then, Ms. Tate heard light tapping at the apartment

front door. In response, she said, “hold on,” and started walking from the kitchen down the

hallway towards the front door. She did not hear anyone say anything.

               52.     Chris, who had stayed outside on the balcony a few seconds longer than

Cierra, had heard the sound of glass breaking, realized it was the exterior, glass front entry door

to the building that had been broken, and heard people rushing into the building. He then headed

inside and through the front room in the direction of the kitchen to tell Cierra and his mother.

               53.     He did not make it.

               54.     As Chris was walking through the living room and entering the long

narrow hallway near the apartment front door, approximately 10 or 15 defendant officers

suddenly broke down the apartment front door, broke it off of its hinges, and poured into the

apartment, directly towards Chris.




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               55.     The first officer through the door was carrying a large shield, a gun and

flashlight. The two officers directly behind him aimed their guns – one a rifle and the other an

assault rifle – directly at Chris. These officers were just three or four steps away from him.

Chris instinctively put his hands up and took one or two steps backwards.

               56.     As they poured in the officers screamed and cursed, “SEARCH

WARRANT!”, “PUT YOUR HANDS UP AND GET ON THE GROUND!” Another officer

said, “GET THE F--- DOWN!” Chris complied. He lay flat on the floor on his stomach. After

he was laying still on the floor, an officer continued to point his gun at him. Chris saw in the

mirror near the couch that an officer was pointing a gun directly at his back at close range.

               57.     Officers then handcuffed Chris behind his back, told him to stand up,

searched his pockets and, finding nothing, told him to sit on the nearby couch in the front room.

Chris complied with all officer instructions.

               58.     At the moment when officers broke open the front door and streamed in

towards Chris, Ms. Tate was on her way to open the front door and had just passed the bathroom.

She was six or seven steps from the front door. But the open front door blocked her view of

Chris who was on the other side of the door in the front room. As she heard officers forcefully

interacting with Chris, Ms. Tate was very concerned about him.

               59.     Ms. Tate then saw at least one officer running towards her with a handgun

drawn and pointed directly at her. This officer was female.

               60.     Ms. Tate announced to officers, “I have a spoon.” Ms. Tate had a spoon

in her right hand because she had been eating granola in the kitchen seconds earlier.

               61.     The female officer yelled at Ms. Tate to “TURN AROUND!” Then the

officer handcuffed Ms. Tate while she stood in the hallway. Immediately the handcuffs were too




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tight on Ms. Tate’s wrists. The officer then pulled Ms. Tate down the hallway, into the front

room, and had her sit on the couch next to her son Chris.

               62.    For the next 30-45 minutes, Ms. Tate repeatedly told the officers that the

handcuffs were too tight and several times requested that they loosen them. They ignored her.

               63.    Officers mentioned to Ms. Tate that they had a search warrant, and Ms.

Tate began to ask to see it. She asked them repeatedly, “Who are you looking for?” They did

not respond.

               64.    During the entire detention and search, officers ignored all of the family’s

questions and requests.

               65.    When officers first broke in and accosted Ms. Tate in the front hallway,

Cierra, who had been following her mother on their way to the apartment front door, became

frightened for her baby sister. She peeled off and went into her mother’s bedroom, jumped on

the bed and covered Cali with her body.

               66.    Moments later, two officers, a white female and a black male in plain

clothes, entered her mother’s bedroom and demanded that Cierra turn around and show them

what she had in her hands. She complied. Cierra turned around with Cali in her arms.

               67.    When she did so, the male officer pointed his rifle directly at Cierra’s

chest as she was cradling Cali in her arms and chest. The rifle was pointed at Cierra and at Cali.

Cierra was crying because the officer was pointing the gun at her.

               68.    With the rifle still pointed at her, the female officer ordered Cierra to stand

up. She complied. The male officer continued to point his rifle at Cierra’s chest and at Cali as

Cierra stood up with Cali in her arms.




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               69.     With the rifle still pointed at her and the baby, officers asked Cierra if she

had anything dangerous on her, and Cierra told them to please grab the knife that was in her

pocket. They did. The male officer continued to point his rifle at Cierra until after the female

officer had gotten the knife out of her pocket.

               70.     Officers then walked Cierra with Cali still in her arms to the front room,

where she sat on the couch with her mother and brother. Cierra was extremely upset and still

crying because officers had pointed a gun at her and Cali.

               71.     After they had been seated on the couch for approximately five minutes, a

female officer entered the living room and suddenly told officers to turn on their body cameras.

Ms. Tate saw an officer standing by the front door turn on his camera after the female officer

gave this order.

               72.     While plaintiffs were confined on the couch, two plain-clothes officers, a

short African-American male and a short Caucasian female, questioned them.

               73.     Officers obtained and ran plaintiffs’ names, checked their IDs, and nothing

came back.

               74.     After approximately 45 minutes, officers finally removed the handcuffs

from Ms. Tate’s wrists only because Cierra happened to ask officers if Ms. Tate could hold Cali

and they could cuff her (Cierra) instead. Officers then handcuffed Cierra in front of her body.

               75.     Ms. Tate continued to ask to see the search warrant and who the officers

were looking for, and still they did not respond. A uniformed officer told her a sergeant would

come and tell her why officers were searching. The sergeant never spoke to plaintiffs.




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               76.     Outside of the sight of plaintiffs, who were confined to the living room

couch, officers gathered in the kitchen and outside in back for a meeting. They came back inside

after the meeting and began to leave. Many left through the front door.

               77.     Officers were inside Ms. Tate’s residence for approximately an hour and

45 minutes. They left at approximately 11:30PM.

               78.     Close to the time they left, officers finally let Ms. Tate’s husband inside

the apartment, and he demanded to see the search warrant. Officers finally gave him a copy.

Mr. McCuller saw the name on the search warrant and forcefully told officers it was not them.

               79.     Before they left, officers did not explain why they were there. They never

said who they were looking for. Officers did not explain that they had made a mistake. They did

not apologize. They did not tell the family how to contact the city to make a request for repairs

or a claim for damage. They did not say anything. They just took the handcuffs off of Chris and

Cierra and walked out of the apartment. Apart from the act of removing the handcuffs, the

family did not even know the raid was over.

               80.     Officers did not arrest or charge anyone. They did not find any Heroin or

other items listed in the search warrant, and they did not find Mr. King or anyone who knew who

he was.

   Officers Damage the Family’s Personal Property, Especially Chris and Cierra’s Rooms

               81.     During plaintiffs’ hour-and-forty-five-minute detention in the living room,

officers tossed and searched a large portion of plaintiffs’ apartment.

               82.     As soon as Ms. Tate, Chris and Cierra were seated on the couch in the

living room, they could hear officers throwing things around in Chris and Cierra’s bedrooms.




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Officers focused on those bedrooms. They also searched the living room. They opened and

closed cabinets in the kitchen.

               83.     Officers did not seem to touch Ms. Tate’s bedroom, but they thoroughly

tossed and tore up Chris and Cierra’s bedrooms.

               84.     Even though Chris’ bedroom door was open, they broke the door frame,

and he could not close his door.

               85.     Chris’ room was decorated with a display of old and new gym shoes

inside shoe boxes all along the wall from the floor to the ceiling. Officers knocked it all down.

               86.     Officers took everything out of Chris’ bedroom closet and threw it on the

floor. They dumped all of his clothes onto the floor and stepped on them. He had to throw his

clothes away. They emptied the contents of his dresser drawers onto the floor. They dumped

out the contents of his school book bag onto the floor.

               87.     Officers also trashed Cierra’s room. They threw or knocked her flat-

screen TV over and onto the floor, cracking the screen. They flipped her bed. Everything that

was on her bed went to the floor. They knocked down paintings that were on her walls. They

threw important papers onto the floor. They dumped out the contents of her chest, including

school supplies, onto the floor. They dumped all of her clothes onto the floor. Chips and sticky

candy were poured over her clothes from a book bag that officers emptied. Cierra had to throw

her clothes away.

               88.     When the family asked who they should call to come clean up the mess,

one of the officers joked, “That’s a whole new search warrant.”

          Officers’ Use of Excessive Force Against Ms. Tate, Chris, Cierra, and Cali
                                   Was Totally Unnecessary




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                89.    Plaintiffs presented absolutely no threat, real or apparent, to the police

officers entering into and searching their home.

                90.    Even though they presented no threat, officers repeatedly pointed their

guns at them, and other officers did not ask those pointing guns at the children and their mother

to stop doing it.

                91.    Moreover, plaintiffs posed no threat to officers after they discovered that

no one who looked anything like the intended target of the warrant was in the apartment.

                92.    Plaintiffs have been harmed by officers’ unnecessary pointing of guns,

unlawful detention, unlawful search of their persons and home, and their destruction of

plaintiffs’ personal property.

         Officers’ Unnecessary Uses of Force Traumatized Ms. Tate, Chris and Cierra

                93.    Chicago police officers’ terrorizing conduct towards plaintiffs caused

them immediate, serious and lasting emotional and psychological distress.

                94.    Prior to August 5, 2019 Ms. Tate, Chris and Cierra were happy and

healthy people in a close, loving family. Prior to this date, they had suffered no emotional or

psychological trauma of any kind in their lives. This all changed with defendants’ actions.

                95.    Throughout their encounter with police, they were terrified. Cierra was

crying. Based upon what they witnessed, they believed officers were going to harm Chris and

Cali.

                96.    Ever since the incident, they have continued to re-live, in various ways,

how terrified they were that day.

                97.    Ms. Tate had nightmares every night at first and now has them every other

night. She has a recurring nightmare that officers keep coming back with different search




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warrants. In her dreams and in her memory, she hears the apartment front door breaking open

over and over. She jumps up out of bed during these nightmares. She does not sleep soundly.

She gets up and comes out of her room often during the night. She is overly concerned about

Chris and Cierra and texts them whenever they are out of the house. She is also worried officers

will come back when she’s at work. She is worried about Chris and Sierra when they are outside

and inside the house, both.

               98.     Cierra remains very disturbed because officers pointed a long rifle directly

at her chest and Cali while she was holding Cali in her arms. She had nightmares every night

immediately following the incident and now has them two or three times per week. She dreams

she’s holding Cali and an officer is pointing a gun at them. She also thought something was

going to happen to her brother.

               99.     Cierra now feels unsafe both in her apartment and, at the same time, is

afraid to leave the house to go to the store because she fears that, if the police see them, they will

do something to her and her brother. She is even scared to go out onto the balcony porch of her

apartment.

               100.    Chris now feels like the police are out to get him. Before, he thought the

police were “cool people out doing good in the community.” Now, he sees a whole different

version of them.

               101.    All plaintiffs now feel nervous, jumpy, and “on edge.”

               102.    Plaintiffs continue to experience and exhibit, unabated, these and other

signs of serious emotional and psychological trauma and distress.

               103.    On information and belief, plaintiffs have, or have many of the symptoms

of, Post-Traumatic Stress Disorder.




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               104.   As a direct result of officers’ conduct, plaintiffs are now being medically

assessed for trauma inflicted by the Chicago police.

               105.   On information and belief, plaintiffs will require counseling in order to

cope with the long-term, psychological injuries inflicted by defendants’ display of excessive

force.

               106.   Officers’ shocking actions of repeatedly pointing and training loaded guns

at close range on an infant, young people and their mother and detaining them for two hours for

no reason constituted serious abuses of power and authority.

               107.   Officers’ actions – including their inaction in the form of failing to

intervene to request that fellow officers stop using excessive force - were directed towards an

infant, women, and young people. Their sensitivity and vulnerability to such trauma-inducing

violence was or should have been known to officers.

               108.   Officers’ conduct was undertaken pursuant to and is part of the long-

standing and widespread pattern and practice, de facto policy or MO of Chicago police officer

use of excessive force noted above, which includes the use of excessive force against and/or in

the presence of children and young people of color.

                 COUNT I – 42 U. S. C. § 1983 MONELL POLICY CLAIM
                        AGAINST THE CITY OF CHICAGO
                                     (All Plaintiffs)

               109.   Plaintiffs re-allege all paragraphs 1-108 above, including the Monell-

related allegations of paragraphs 22-30 and 108 above and 147-161 below, and incorporate them

all into this count. They assert this claim against defendant City of Chicago.

               110.   Defendant officers’ use of excessive force against and in the presence of

plaintiffs was directly and proximately caused by one or more of the following three, specific,




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 long-standing, interrelated, failures of official policy, lack of official policy, de facto policies,

 widespread practices, and/or customs of the City of Chicago: 1) a pattern and practice of using

 unnecessary or excessive force against infants, children, youth and/or their close relatives in the

 minor’s presence; 2) a systemic failure to investigate and discipline and/or otherwise correct

 allegations/incidents of officer excessive force against infants, children, youth and/or their close

 relatives in the minor’s presence; and 3) an absence of official policy and training to avoid the

 unnecessary or excessive use of force against infants, children, youth and/or their close relatives

 in the minor’s presence. Each of these policies existed for more than six years prior to August 5,

 2019 (“the Monell period”).

                 111.    First, defendant City of Chicago has a long-standing, pervasive practice

and custom of failing to adequately investigate, intervene with and discipline or otherwise correct

officers for the use of excessive force against infants, children, youth or their close relatives in the

minor’s presence.

                 121.    This set of City’s widespread practices or customs directly encouraged,

 authorized and caused officers’ conduct toward the children. The City’s historical failure,

 leading up to August 5, 2019, to properly intervene in, investigate and discipline officer

 excessive force, especially excessive force against infants, children, youth and/or their close

 relatives in the minor’s presence, caused officers to act without appropriate restraints in the

 presence of Cali.

                 122.    This was facilitated by defendant officers’ failures to timely turn on their

body cameras coupled with a complete lack of official disciplinary consequences for officers, like

defendants, who do not wear their bodycams or who turn them on late, in violation of the CPD

mandate to do so.




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               123.    The City was on notice of each of these failures of official policy from the

specific conclusions reached by and the data contained in the 2017 U. S. Department of Justice

investigative and the PATF reports (citations above).

               124.    Second, defendant officers’ conduct towards and in the presence of Cali

was undertaken as a direct consequence of defendant City of Chicago’s long-standing failure to

have any affirmative, official policies and/or training explicitly requiring officers to avoid using

unnecessary or excessive force against infants, children, youth and/or their close relatives in the

minor’s presence whenever possible.

               125.    Even after the findings of the U. S. Department of Justice investigation

and the Mayor’s PATF were known to City policy makers, the City failed to implement or

announce implementation of any reforms that purported to remedy the pattern and practice of

unnecessary use of force against infants, children, youth and/or their close relatives in the

minor’s presence - a failure which amounted to a deliberate choice not to take action to prevent

the violation of plaintiffs’ constitutional rights. City and CPD’s failure to implement these

explicit policies, reforms and priorities was a cause of the injuries to plaintiffs. Specifically, this

lack of official policies, training, and reforms includes:

                       a.      The continued absence of any provision in CPD’s official use of

force policy that would explicitly guide or require officers to avoid using force against infants,

children, youth and/or their close relatives in the minor’s presence, or to use a trauma-informed

approach to the use of force in situations where minors or youth are present, and some force may

necessary;

                        b.     CPD’s continued failure to add, in its official use-of-force training

curriculum and/or its on-the-job training and supervision of officers, any explicit guidance or




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requirement that officers should avoid using force against infants, children, youth and/or their

close relatives in the minor’s presence, or to use a trauma-informed approach to the use of force

in situations where minors are present and some force may be necessary;

                       c.      CPD’s continued failure to require officers seeking residential

search warrants to make reasonable efforts before obtaining and/or executing the warrant to

determine, through investigation and surveillance, (i) whether minors reside in the residence, (b)

to avoid entry and search at times when minors are likely to be present (ii) to de-escalate

themselves or change tactics when they unexpectedly encounter infants, children, or youth,

and/or (iii) to take other precautions to avoid traumatizing minors and their close relatives, such

as avoiding pointing guns at or placing parents and caretakers in handcuffs in the children’s

presence;

                       d.      CPD’s rebuff, both before and since the U. S. Department of

Justice and PATF reports were released, of national and local legal and/or community

organizations that have offered to provide training on trauma-informed policing with children

and/or offered model use-of-force policies that included explicit provision for avoiding the

unnecessary use of force against and in the presence of children; and

                       e.      City’s and CPD’s refusal or failure to propose or agree to any

explicit protections for children from excessive force or any provisions requiring a trauma-

informed approach to policing children in the federal consent decree it negotiated with the State

of Illinois.

               126.    Third, the City’s lack of official policies to protect children from

unnecessary officer use of force, combined with its failure to hold accountable officers who use

unnecessary force involving minors, have resulted in a de facto City policy and practice of using




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unnecessary or unreasonable force against young children and youth, as concluded by the U. S.

Department of Justice investigation into the Chicago Police Department and the PATF. The

excessive force used against or in the presence of plaintiffs was an example of and the result of

this de facto policy.

                 127.   Through their combined failures, before and after notice, to enact official

policies that protect children from unnecessary force and to hold accountable officers who use

excessive force against children, the City has led police officers to be confident that such actions

are acceptable and will not be challenged, investigated or disciplined by CPD, CPD’s Bureau of

Internal Affairs (“BIA”), the Chicago Police Board, the Independent Police Review Authority

(“IPRA”) or the Civilian Office of Police Accountability (“COPA”). These past failures directly

authorized, encouraged and emboldened defendant officers’ conduct against and in the presence

of plaintiffs, providing them a general license to use excessive force involving minors whenever

it suits them.

                 128.   Through their combined failures, before and after notice, to enact official

policies protecting children from unnecessary force and to hold accountable officers who use

excessive force against children, final City of Chicago policy-makers – including the

Superintendent of police, the Administrator of IPRA (now COPA), the head of CPD’s BIA, the

Mayor, and the Chicago City Council – condoned, approved, facilitated, encouraged and

perpetuated a de facto City policy and practice of unnecessary or excessive force against infants,

children, youth and/or their close relatives in minors’ presence.

                 129.   Additionally, the violation of the children’s Four Amendment rights

against illegal search was also caused by widespread City practices and de facto City policies. In

particular, CPD has a de facto policy of applying for and executing residential search warrants




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based on inaccurate, unreliable and unverified information, with the consequence that half or a

majority of all warrants executed are “negative,” i.e., they result in no arrest. But they

consistently result in excessive force, illegal search, terror and lasting trauma to innocent

residents, including infants, children, youth and their close relatives.

               130.    CPD fails to properly supervise, investigate, discipline and otherwise hold

accountable officers who apply for and execute residential search warrants based on inaccurate,

unreliable and unverified information.

               131.    Nor does CPD audit, monitor or track residential search warrants in the

aggregate, even on a sample basis, in order to identify and evaluate investigative practice issues

(such as whether officers are doing enough to verify the current or correct address for the target)

and improve the accuracy and reliability of search warrant investigations, despite the fact that

such measures could boost “positive” warrant results and inflict less trauma on innocent

bystanders, including young children.

               132.    Finally, during all times relevant to the incident involving plaintiffs, a

“code of silence” pervaded the police accountability system in Chicago, including CPD’s BIA,

the Chicago Police Board, IPRA and COPA, contributing to these agencies’ collective failure to

properly investigate and discipline officer excessive force, including excessive force against

infants, children, youth and/or their close relatives in the minor’s presence. Unjustified

exemptions from the bodycam mandate and a complete lack of official discipline and

accountability for officers who do not wear or do not turn on their bodycams reinforce the code

of silence. Defendant officers’ conduct toward plaintiffs, including their failure to intervene and

failure to report the actions of their colleagues, was the direct result of the long-standing and

systematic code of silence at work in the City’s police investigative and disciplinary systems.




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                133.    By means of its pervasive customs and practices above and its failures,

after notice, to remedy officers’ use of unnecessary force against infants, children, youth and/or

their close relatives in the minor’s presence, defendant City of Chicago has manifested and

manifests deliberate indifference to the deprivation of plaintiffs’ constitutional rights.

                134.    One or more of these three polices, practices and customs collectively,

directly and proximately caused the violations of plaintiffs’ constitutional rights set forth above

and below and the resulting injuries, such that the City of Chicago is liable for officers’ use of

excessive force against them and/or in their presence.

 The City of Chicago’s De Facto Policies Resulted in Violations of Plaintiffs’ Constitutional
                  Right to be Free of Excessive Force and Illegal Search

                135.    Officers’ conduct toward plaintiffs constituted excessive force, in

violation of their rights under the Fourth and Fourteenth Amendments to the U. S. Constitution.

                136.    Under the circumstances, officers’ displays of force against and in the

presence of young children was totally unnecessary, unreasonable and unjustifiable.

                137.    Under the circumstances, officers’ uses of force against plaintiffs,

undertaken in the presence of and witnessed by other plaintiffs, was totally unnecessary,

unreasonable and unjustifiable.

                138.    Officers failed to intervene to stop any use of force.

                139.    Officers’ misconduct was objectively unreasonable and was undertaken

intentionally with willful indifference to plaintiffs’ constitutional rights.

                140.    Officers’ misconduct was undertaken with malice, willfulness, and

recklessness indifference to the rights of others.

                141.    The officers’ misconduct was undertaken pursuant to and as the direct and

proximate result of the Defendant City of Chicago’s de facto policy, failures of official policy,



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absences of affirmative policy, and pervasive, long-standing practices and customs, as set forth

above, such that defendant City of Chicago is liable for officers’ use of excessive force against

and in the presence of plaintiffs.

               142.    As the direct and proximate result of officers’ misconduct, plaintiffs have

suffered and continue to suffer severe, long-term emotional and mental distress and trauma,

including lasting or permanent psychological injury.

               143.    One or more officers had a reasonable opportunity to prevent or stop the

violations of plaintiffs’ constitutional rights but stood by and failed to take any action.

               144.    Officers’ inactions in this respect were objectively unreasonable and

undertaken intentionally, with malice and reckless indifference to plaintiffs’ constitutional rights.

               145.    As set forth above, the officer misconduct was undertaken pursuant to the

de facto policies, long-standing and pervasive practices and customs of defendant City of

Chicago, such that the City of Chicago is also liable for officers’ failure to intervene.

               146.    As the direct and proximate result of officers’ misconduct, plaintiffs

suffered and continue to suffer injury and harm.

     COUNT II – UNLAWFUL SEARCH – INVALID WARRANT - 42 U. S. C. § 1983
                             (All Plaintiffs)

               147.    Plaintiffs Jaden, Jeremy and Justin re-allege paragraphs 1 – 108 above and

incorporate them into this count. They assert this claim against defendant officers and any as yet

unknown officers who participated in obtaining the search warrant for their apartment.

               148.    Defendant officers unreasonably approved, obtained and executed a search

warrant for a person who, officers knew or should have known, had no connection with

plaintiffs’ address, a fact which invalidated the warrant from the start, prior to execution.




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               149.    Officers’ subsequent unauthorized entry and search violated plaintiffs’

Fourth Amendment right to be free from unreasonable searches of their persons and homes.

               150.    As the sworn applicant for the warrant, officer Niemoth and those who

assisted him had an official duty to discover and disclose to the issuing magistrate whether she

had identified the correct address or place to be searched and not the residence of an innocent

third party.

               151.    Officer Niemoth and other defendant officers reasonably knew or should

have known that the intended target(s) of the warrant would not be found at plaintiffs’ address.

               152.    Officer Niemoth and the other officers had an official duty to reasonably

investigate and verify information they received from the felonious John Doe about the target’s

whereabouts.

               153.    Such an inquiry was so simple to make by means of the sources listed

above. Officer Niemoth and other officers had multiple sources of information available to them

at the time, had they bothered to use them.

               154.    But, on information and belief, officer Niemoth and others recklessly did

not conduct any investigation or verification or failed to conduct a reasonable one.

               155.    Consequently, in their complaint for search warrant defendant officers

identified the wrong address, plaintiffs’ address, a place they never had probable cause to enter

and search. Because officers recklessly and utterly failed to independently investigate and verify

the place to be searched, theirs was not a good faith error.

               156.    A CPD Lieutenant approved officer Niemoth’s application for search

warrant without ensuring that she and other officers had performed the due diligence required by

CPD Special Order S04-19.




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               157.    Officers’ actions in these respects were objectively unreasonable and were

undertaken intentionally, with malice and reckless indifference to plaintiffs’ constitutional rights.

               158.    As the direct and proximate result of officers’ misconduct, plaintiffs

suffered and continue to suffer injury and harm.

          Defendant Officers’ Conduct Was Willful and Wanton or Grossly Negligent

               159.    Defendant officers’ conduct under this count merits an award of punitive

damages to plaintiffs. Defendant officers’ shocking inaction in failing to perform required and

basic reasonable due diligence to verify the correct location for a search warrant before raiding

and searching citizens’ residence constituted an abuse of power and authority. Defendant

officers’ actions – of relying solely on location information provided by a John Doe confidential

informant who was a convicted felon with numerous prior arrests for handling and selling

narcotics and not conducting their own investigation and surveillance to verify the address - were

directed towards honest, hard-working citizens who were totally innocent of all criminal conduct.

               160.    Defendant officers’ conduct toward plaintiffs was undertaken with willful

and wanton disregard for the rights of others. Officers acted with actual intention or with a

conscious disregard or indifference for the consequences when the known safety and health of

plaintiffs was involved. Defendant officers acted with actual malice, with deliberate violence,

willfully or with such gross negligence as to indicate a wanton disregard of the rights of others.

               161.    In light of the character of defendant officers’ actions toward plaintiffs and

the lasting or permanent psychological injury that defendants’ conduct has caused plaintiffs,

defendants’ conduct merits an award of punitive damages.

                 COUNT III – UNLAWFUL SEARCH – UNREASONABLE
                 MANNER OF ENTRY AND SEARCH – 42 U. S. C. § 1983
                                 (Minor Plaintiffs)




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                162.    Plaintiffs Jaden, Jeremy and Justin re-allege paragraphs 1 – 108 above and

incorporate them into this count. They assert this claim against all defendant officers who

entered and/or searched their apartment.

                163.    The manner in which officers conducted their entry into and search of

plaintiffs’ apartment were objectively unreasonable, in violation of Plaintiffs’ Fourth

Amendment rights.

                164.    For example, when these officers entered plaintiffs’ apartment, they did

not knock or announce themselves or their office in circumstances where it was required, they

pointed guns at plaintiffs from close range, they screamed and cursed at plaintiffs, and they

intentionally damaged or destroyed plaintiffs’ personal property.

                165.    Further, it was unreasonable for officers to detain plaintiffs in handcuffs

for two hours, an unreasonable length of time and in an unreasonable and humiliating manner.

                166.    Officers’ manner of entry and search was objectively unreasonable in

these and other ways and was undertaken intentionally, with malice and reckless indifference to

plaintiffs’ constitutional rights.

                167.    Under the circumstances, officers had reasonable alternative law

enforcement techniques available to them for effective entry and search.

                168.    As the direct and proximate result of officers’ misconduct, plaintiffs

suffered and continue to suffer injury and harm.

          Defendant Officers’ Conduct Was Willful and Wanton or Grossly Negligent

                169.    Defendant officers’ conduct under this count merits an award of punitive

damages to plaintiffs. Defendant officers’ shocking displays of force against a totally unarmed

family with an infant constituted an abuse of power and authority. Defendant officers’ actions




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set forth above were directed towards unarmed citizens who were fully compliant and

cooperative and innocent of all criminal conduct.

               170.    Defendant officers’ conduct toward plaintiffs was undertaken with willful

and wanton disregard for the rights of others. Officers acted with actual intention or with a

conscious disregard or indifference for the consequences when the known safety and health of

plaintiffs was involved. Defendant officers acted with actual malice, with deliberate violence,

willfully or with such gross negligence as to indicate a wanton disregard of the rights of others.

               171.    In light of the character of defendant officers’ actions toward plaintiffs and

the lasting or permanent psychological injury that defendants’ conduct has caused plaintiffs,

defendants’ conduct merits an award of punitive damages.

   COUNT IV – FALSE ARREST AND FALSE IMPRISONMENT – 42 U. S. C. § 1983
                             (All Plaintiffs)

               172.    Plaintiffs re-allege paragraphs 1 – 108 above and incorporate them into

this count. They assert this claim against the defendant officer(s) who detained them and those

who declined to intervene.

               173.    Officers arrested and imprisoned plaintiffs when, (a) without a warrant for

their arrest and without probable cause to arrest them, they handcuffed them and confined them

to the couch in the front room for approximately two hours.

               174.    Officers’ actions constituted a violation of plaintiffs’ Fourth Amendment

right to be free from unreasonable searches and seizures.

               175.    When officers confined plaintiffs, they unlawfully deprived them of their

liberty to move about, despite the fact that they had not done nothing illegal, were not a safety

threat, and that officers had no probable cause for their arrest and imprisonment. This violated

plaintiffs’ rights under the Fourth and Fourteenth Amendments to the U. S. Constitution.



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               176.    Moreover, one or more officers had a reasonable opportunity to prevent or

stop the violations of plaintiffs’ constitutional rights but stood by and failed to take any action.

               177.    Through physical force and the invalid use of legal authority, officers

acted to arrest, restrain and confine plaintiffs to a bounded area.

               178.    Plaintiffs were acutely aware of and were harmed by officers’

confinement, as detailed above.

               179.    Officers’ actions in this respect were objectively unreasonable and

undertaken intentionally, with malice and reckless indifference to plaintiffs’ constitutional rights.

               180.    As the direct and proximate result of officers’ misconduct, plaintiffs

suffered and continued to suffer injury and harm.

   COUNT V – UNCONSTITUTIONAL SEIZURE OF PROPERTY - 42 U. S. C. § 1983
                          (Hardin Plaintiffs)

               181.    Plaintiffs Chris and Cierra Hardin incorporate paragraphs 1 – 108 above

and assert this claim against defendant officers who participated in the search of plaintiffs’

residence.

               182.    As set forth above, defendant officers unnecessarily and willfully damaged

or destroyed plaintiffs’ personal property during the course of their search. Defendant officers

took these actions without any lawful basis and without ever returning plaintiffs’ property to

them or paying them compensation for damage or destruction they caused.

               183.    Defendant officers’ actions constituted an unreasonable seizure of

plaintiffs’ property, in violation of their rights under the Fourth Amendment and Fourteenth

Amendments to the U. S. Constitution, as well as a deprivation of property without due process

of law, in violation of their rights under the Fourteenth Amendment.




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               184.    Defendants’ misconduct was objectively unreasonable and was undertaken

intentionally with willful, malicious and reckless indifference to plaintiffs’ constitutional rights.

               185.    Defendants’ misconduct was undertaken with malice, willfulness, and

recklessness indifference to the rights of others.

               186.    As a result of defendant officers’ misconduct described in this Count,

plaintiffs have suffered injury, including deprivation of their right to property, financial harm and

emotional distress.

                            COUNT VI – ASSAULT – STATE LAW
                                      (All Plaintiffs)

               187.    Plaintiffs re-allege and incorporate paragraphs 1 – 108 above in this count.

They assert this claim against defendant City of Chicago.

               188.    The actions of officers set forth above, including pointing guns at close

range at the plaintiffs, created reasonable apprehensions in plaintiffs of immediate harmful

contact to plaintiffs’ persons.

               189.    The officers intended to bring about apprehensions of immediate harmful

contact in plaintiffs or knew that their actions would bring about such apprehensions.

               190.    In the alternative, the conduct of defendant was willful and wanton and

constituted a course of action which shows an actual or deliberate intention to cause harm or

which, if not intentional, shows an utter indifference to or conscious disregard for the safety of

others and/or their property.

               191.    The conduct of defendant in entering and executing a residential search

warrant are generally associated with a risk of serious injuries. Numerous prior injuries have

occurred to civilians in this context. Officers failed to take reasonable precautions after having

knowledge of impending danger to plaintiffs.



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                 192.   The officers’ actions were the direct and proximate cause of plaintiffs’

apprehensions.

                 193.   Plaintiffs have been seriously harmed by officers’ actions.

     COUNT VII – FALSE ARREST AND FALSE IMPRISONMENT– STATE LAW
                              (All Plaintiffs)

                 194.   Plaintiffs re-allege paragraphs 1 – 108 above and incorporates them into

this count. They assert this claim against defendant City of Chicago.

                 195.   Officers arrested and imprisoned plaintiffs when, (a) without a warrant for

their arrest and without probable cause to arrest them, they (b) handcuffed them and confined

them the couch in the front room for two hours.

                 196.   Officers’ actions restrained plaintiffs and confined them to a small,

bounded area.

                 197.   Officers intended to restrain and confine plaintiffs to bounded areas within

or outside the house.

                 198.   In the alternative, the conduct of defendant was willful and wanton and

constituted a course of action which shows an actual or deliberate intention to cause harm or

which, if not intentional, shows an utter indifference to or conscious disregard for the safety of

others and/or their property.

                 199.   The conduct of defendant officers in entering and executing a residential

search warrant are generally associated with a risk of serious injuries. Numerous prior injuries

have occurred to civilians in this context. Officers failed to take reasonable precautions after

having knowledge of impending danger to plaintiffs.

                 200.   Officers’ actions caused the restraint and confinement of plaintiffs to a

small, bounded area within their residence.



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                201.    Plaintiffs were harmed by officers’ actions in restraining and confining

them, as detailed above.

            COUNT IX - INTENTIONAL AND/OR NEGLIGENT INFLICTION
                    OF EMOTIONAL DISTRESS – STATE LAW
                                  (Plaintiffs)

                202.   Plaintiffs re-allege and incorporate paragraphs 1 – 108 above in this count

and assert this claim against defendant City of Chicago.

                203.   The actions, omissions and conduct of officers set forth above were

extreme and outrageous and exceeded all bounds of human decency.

                204. Officers’ actions, omissions and conduct above were undertaken with the

intent to inflict and cause severe emotional distress to plaintiffs, with the knowledge of the high

probability that their conduct would cause such distress, or in reckless disregard of the

probability that their actions would cause such distress.

                205. Officers, who occupied positions of special trust and authority, knew, had

reason to know or believed that plaintiffs’ family, which included an infant and young people,

were especially vulnerable and fragile.

                206.   As a direct and proximate result of officers’ extreme and outrageous

conduct, plaintiffs suffered and continue to suffer long-term, severe emotional distress and

trauma.

                207.   In the alternative, officers owed plaintiffs a duty of care that they breached

when they pointed guns at them, handcuffed them, confined them to the couch in the living room

for two hours, and damaged or destroyed their personal property. Plaintiffs are direct victims of

officers’ negligent infliction of emotional distress.




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               208.    In the alternative again, the conduct of defendants was willful and wanton

and constituted a course of action which shows an actual or deliberate intention to cause harm or

which, if not intentional, shows an utter indifference to or conscious disregard for the safety of

others and/or their property.

               209.    The conduct of defendants in entering and executing a residential search

warrant are generally associated with a risk of serious injuries. Numerous prior injuries have

occurred to civilians in this context. Officers failed to take reasonable precautions after having

knowledge of impending danger to plaintiffs.

               214.    Officers’ conduct was a proximate cause of plaintiffs’ injuries and their

extreme, severe, long-term emotional distress and trauma.

                           COUNT X - TRESPASS – STATE LAW
                                     (All Plaintiffs)

               215.    Minor plaintiffs re-allege paragraphs 1 – 108 above and incorporate them

in this count. Plaintiffs assert this claim against defendant City of Chicago.

               216.    By obtaining and executing the search warrant when officers did not have

probable cause to believe that the target resided at the address given them by the John Doe,

officers physically invaded plaintiffs’ right to and enjoyment of exclusive possession of their

residence.

               217.    In the alternative, the conduct of defendants was willful and wanton and

constituted a course of action which shows an actual or deliberate intention to cause harm or

which, if not intentional, shows an utter indifference to or conscious disregard for the safety of

others and/or their property.

               218.    The conduct of defendants in entering and executing a residential search

warrant are generally associated with a risk of serious injuries. Numerous prior injuries have



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occurred to civilians in this context. Officers failed to take reasonable precautions after having

knowledge of impending danger to plaintiffs.

               219.    Officers’ actions caused a physical invasion of plaintiffs’ residence.

               220.    Plaintiffs were harmed by officers’ physical invasion of their residence.

                  COUNT XI – RESPONDEAT SUPERIOR – STATE LAW
                                  (All Plaintiffs)

               221.    Plaintiffs re-allege paragraphs 1-108 and 187 – 220 above and incorporate

them into this count. Plaintiffs assert this claim against defendant City of Chicago.

               222.    In committing the acts and omissions alleged above, officers were at all

times members and agents of CPD and the City of Chicago and were acting within the scope of

their employment.

               223.    Defendant City of Chicago is, therefore, liable as principal for all common

law torts committed by its agents within the scope of their employment.

                      COUNT XII – INDEMNIFICATION – STATE LAW
                                     (All Plaintiffs)

               224.    Plaintiffs re-allege and incorporate paragraphs 1-117 and 187 – 220 above.

Plaintiffs assert this count against defendant City of Chicago.

               225.    Illinois law, 745 ILCS 10/9-102, directs public entities to pay any

common law tort judgment for compensatory damages for which employees are held liable

within the scope of their employment activities.

               226.    Involved officers were and are employees of the City of Chicago who

acted within the scope of their employment when committing the actions and omissions detailed

above.

                           PRAYER FOR RELIEF (ALL COUNTS)




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               WHEREFORE, plaintiffs respectfully request that the Court enter judgment in

their favor and against defendant on each count for:

                      a.      Compensatory damages;

                      b.      Punitive damages where pled in the counts above;

                      c.      Reasonable attorney's fees and litigation costs and expenses; and

                      d.      Such other or further relief as the Court deems just.


                                              Respectfully submitted,



                                              s/Al Hofeld, Jr.
                                              Al Hofeld, Jr.

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                                        JURY DEMAND

               Plaintiffs demand trial by jury.


                                                       s/Al Hofeld, Jr.
                                                       Al Hofeld, Jr.



                                       NOTICE OF LIEN

              Please be advised that we claim a lien upon any recovery herein for 1/3 or such
amount as a court awards.


                                                       s/Al Hofeld, Jr.



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                                                      Al Hofeld, Jr.



 NOTICE OF FILING AND CERTIFICATE OF SERVICE BY ELECTRONIC MEANS

               I, Al Hofeld, Jr., an attorney for plaintiffs, hereby certify that on November 14,
2019, filing and service of the foregoing Complaint was accomplished pursuant to ECF as to
Filing Users, and I shall comply with LR 5.5 and the Federal Rules of Civil Procedure as to
service on any party who is not a Filing User or represented by a Filing User.

                                                      s/Al Hofeld, Jr.
                                                      Al Hofeld, Jr.

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